Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 1 of 17 PageID #: 396
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 2 of 17 PageID #: 397
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 3 of 17 PageID #: 398
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 4 of 17 PageID #: 399
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 5 of 17 PageID #: 400
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 6 of 17 PageID #: 401
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 7 of 17 PageID #: 402
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 8 of 17 PageID #: 403
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 9 of 17 PageID #: 404
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 10 of 17 PageID #: 405
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 11 of 17 PageID #: 406
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 12 of 17 PageID #: 407
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 13 of 17 PageID #: 408
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 14 of 17 PageID #: 409
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 15 of 17 PageID #: 410
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 16 of 17 PageID #: 411
Case 1:11-cv-01108-SEB-TAB Document 45-1 Filed 05/22/12 Page 17 of 17 PageID #: 412
